




02-12-535-CR









 
  
  
   
    
    
    
    
    
   
  
  
  
  COURT OF APPEALS
  SECOND DISTRICT OF TEXAS
  FORT WORTH
  &nbsp;
  
 


&nbsp;

&nbsp;

&nbsp;

NO. 02-12-00535-CR 

&nbsp;

&nbsp;


 
  
  Shane Paul Donahue
  
  
  &nbsp;
  
  
  APPELLANT
  
 
 
  
  &nbsp;
  V.
  &nbsp;
  
 
 
  
  The State of Texas
  
  
  &nbsp;
  
  
  STATE 
  
 


&nbsp;

&nbsp;

------------

&nbsp;

FROM County
Criminal Court No. 10 OF Tarrant COUNTY

------------

MEMORANDUM
OPINION[1] AND
JUDGMENT

----------

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; We
have considered “Appellant’s Motion To Dismiss Appeal.”&nbsp; The motion complies
with rule 42.2(a) of the rules of appellate procedure.&nbsp; Tex. R. App. P. 42.2(a).&nbsp; No decision of this
court having been delivered before we received this motion, we grant the motion
and dismiss the appeal.&nbsp; See Tex. R. App. P. 42.2(a), 43.2(f).

&nbsp;

PER
CURIAM

PANEL: GARDNER, WALKER, and MCCOY, JJ.

&nbsp;

DO NOT PUBLISH

Tex. R. App.
P. 47.2(b)

&nbsp;

DELIVERED: November 29,
2012&nbsp; &nbsp;&nbsp;








&nbsp;









[1]See Tex. R. App. P. 47.4.







